     Case 2:12-cv-01924-SM-JCW Document 563 Filed 08/14/18 Page 1 of 2



MINUTE ENTRY
MORGAN, J.
August 14, 2018


                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA,                                       CIVIL ACTION
     Plaintiff

 VERSUS                                                          NO. 12-1924

 CITY OF NEW ORLEANS,                                            SECTION “E”
      Defendant


      A status conference was held on the record on August 14, 2018 at 1:30 p.m. before

Judge Morgan to discuss the status of the consent decree.

      Present:      Jude Volek, Megan Marks, and Ted Carter, on behalf of
                    Plaintiff, the United States of America ("DOJ");

                    Sunni LeBeouf, City Attorney, on behalf of Defendant, the City
                    of New Orleans ("City");

                    Superintendent Michael Harrison, Deputy Superintendent
                    Paul Noel, Deputy Superintendent Arlinda Westbrook,
                    Deputy Superintendent John Thomas, Commander
                    Christopher Goodly, Commander Regina Williams,
                    Commander Shaun Ferguson, Deputy Chief of Staff Eric
                    Melancon, Lieutenant Jonette Williams, Lieutenant Bruce
                    Haney, Lieutenant Gwen Nolan, Lieutenant Janeiro Sanders,
                    Officer Terry Bean, Daniel Cazenave, Benjamin Horwitz,
                    Deidre Magee, Joseph Rexford, and Leatrice Latimore, on
                    behalf of the New Orleans Police Department ("NOPD");

                    Deputy Superintendent Daniel Murphy, Commander Otha
                    Sandifer, and Denise Chandler, on behalf of the Consent
                    Decree Compliance Bureau ("Compliance Bureau");

                    Jonathan Aronie and Ashley Burns, Office of the Consent
                    Decree Monitor ("Monitor").

                                           1
     Case 2:12-cv-01924-SM-JCW Document 563 Filed 08/14/18 Page 2 of 2



      The Court and the parties discussed the status of compliance with the Consent

Decree. The Court informed the parties that the monthly status conferences will now be

held quarterly beginning with the meeting currently scheduled for November 13, 2018

and continuing through 2019.

      Accordingly;

      IT IS ORDERED that the monthly meetings currently scheduled for September

20, 2018, October 18, 2018, and December 13, 2018, are hereby CANCELED. Individual

meetings will be scheduled with the Court and the monitor during these months. The

updated schedule is attached hereto with the revised dates shown in bold.

      IT IS FURTHER ORDERED that the parties observe the dates for status

conferences and public hearings to be held during 2019 and attached hereto. Individual

meetings will be scheduled with the Court and the monitor during the remaining months.


      New Orleans, Louisiana, this 11th day of September, 2018.


                                               _____ ______ ________________
                                                       SUSIE MORGAN
                                               UNITED STATES DISTRICT JUDGE




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